  Case 22-06993        Doc 25 Filed 09/12/22 Entered 09/12/22 17:38:44             Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )               BK No.:     22-06993
Ronisha J. Carpenter                       )
                                           )               Chapter: 13
                                           )
                                                           Honorable Jacqueline P Cox
                                           )
                                           )
              Debtor(s)                    )

                                      Order Confirming Plan

       The plan under Chapter 13 of the Bankruptcy code, filed as docket No. 21, having been found
by the Court to comply with the provisions of the 11 U.S.C. section 1325, THE PLAN IS HEREBY
CONFIRMED.




                                                        Enter:


                                                                  Honorable Jacqueline Cox
Dated: September 12, 2022                                        United States Bankruptcy Judge
